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 8
                                 UNITED STATES DISTRICT COURT
 9
                              CENTRAL DISTRICT OF CALIFORNIA
10
                                         WESTERN DIVISION
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12
       DELANO CARROL NELSON,                             Case No: CV 12-05761 JC
13
                           Plaintiff,                    Assigned to Magistrate
14                                                       Jacqueline Chooljian
             vs.
15
       UNITED STATES and DOES 1                          ORDER GRANTING
16     Through 10, inclusive,                            DEFENDANT’S MOTION TO
                                                         COMPEL DISCOVERY
17                         Defendants.
                                                         Date: April 9, 2013
18                                                       Time: 10:00 a.m.
                                                         Ctrm: 20 (Spring Street)
19
                                                         [DISCOVERY MATTER]
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             Defendant’s Motion to Compel Discovery, having come on for hearing, and the
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       Court having considered the pleadings, evidence presented, and the memorandum of
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       points and authorities,
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             IT IS HEREBY ORDERED that Defendant’s Motion to Compel Discovery is
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       granted. Plaintiff has an obligation under Federal Rules of Civil Procedure 33 and 34
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       to provide full and complete responses to Defendant’s Interrogatories, and to produce
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       all documents in his possession, custody, or control, which includes the obligation to

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 1     produce documents that the plaintiff has the legal right to obtain on demand. United
 2     States v. Int’l Union of Petroleum & Industrial Workers, AFL-CIO, 870 F.2d 1450,
 3     1452 (9th Cir. 1989); Estate of Young v. Holmes, 134 F.R.D. 291, 294 (D. Nev. 1991)
 4     (When a party can command the person or entity to release the documents, the party
 5     has control over these items). Plaintiff failed to provide either written responses or
 6     produce any documents in response to Defendant’s Interrogatories and Request for
 7     Production of Documents, and thus has not complied with his obligations under the
 8     Federal Rules of Civil Procedure.
 9           IT IS HEREBY FURTHER ORDERED that:
10           1.      By not later than April 19, 2013, Plaintiff shall provide full and
11     complete responses to Defendant’s Interrogatories (Set One). Plaintiff’s responses
12     shall not interpose any objections to these Interrogatories; and
13           2.     By not later than April 19, 2013, Plaintiff shall fully and completely
14     respond to Defendant’s Requests for Production (Set One) and shall provide all
15     responsive documents within Plaintiff’s possession, custody, or control regarding said
16     Requests. Plaintiff’s responses shall identify specifically which documents are being
17     produced in response to each Request and shall not interpose any objections to the
18     Requests. Nor shall Plaintiff withhold documents sought in the Requests on the basis
19     of any objection or asserted privilege. If Plaintiff contends that neither he nor his
20     attorneys/representatives has possession, custody, or control of documents responsive
21     to the Requests, he shall affirmatively so state.
22           Plaintiff is cautioned that any failure to fully and timely comply with this
23     Order may result in sanctions including dismissal of this action. Federal Rule of
24     Civil Procedure 37(b)(2)(A).
25     Dated: April 9, 2013                                /s/
26                                             Hon. Jacqueline Chooljian
                                               United States Magistrate Judge
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